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                UNITED STATES DISTRICT COURT
                   DISTRICT OF MINNESOTA
 UNITED STATES OF AMERICA,                )    Criminal No. 22-145 JRT/JFD
                                          )
                          Plaintiff,      )
       v.                                 )    NOTICE OF APPEARANCE
                                          )
 MARVIN WASHINGTON,                       )
                                          )
                        Defendant.



      Pursuant to the Court’s order appointing counsel, the undersigned attorney

hereby notifies the Court and counsel that Douglas Olson shall appear as appointed

counsel of record for the above named defendant in this case.



Dated: July 29, 2022                          s/Douglas Olson
                                              DOUGLAS OLSON
                                              Attorney ID No. 169067
                                              Attorney for Defendant
                                              Office of the Federal Defender
                                              107 U.S. Courthouse
                                              300 South Fourth Street
                                              Minneapolis, MN 55415
